                     IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF MARYLAND

GARY WASHINGTON,

                Plaintiff

      v.                                   Case No. 1:19-cv-02473-GLR

BALTIMORE POLICE DEPARTMENT,
THOMAS PELLEGRINI, OSCAR                   Judge Stephanie Gallagher
REQUER, RICHARD FAHLTEICH,
JOHN TEWEY, FRED CERUTI, JOHN
MACGILLIVARY, UNKNOWN                      JURY TRIAL DEMANDED
EMPLOYEES OF THE BALTIMORE
POLICE DEPARTMENT, AND MAYOR
AND THE CITY COUNCIL OF
BALTIMORE,

               Defendants


                 CONSENT MOTION FOR EXTENSION OF TIME


      NOW COMES Plaintiff Gary Washington, by his undersigned counsel, Loevy

& Loevy, and respectfully moves this Court for an order to extend the deadline for

his response to Defendants Motion to Dismiss. In support of his motion, Plaintiff

states as follows:


      1.     On December 2, 2019, Defendants Mayor and City Council of

Baltimore (“City”) and the Baltimore Police Department (“BPD”) filed a Motion to

Dismiss Plaintiff’s Amended Complaint. Dckt No. 29. The individual defendants

who have appeared in this action answered Plaintiff’s Amended Complaint. Dckt

No. 28.
      2.      Under Local Rule 105, Plaintiff’s response to the City and BPD’s

motion to dismiss is due on December 16, 2019.

      3.      Due to other work commitments, including two federal appeals in the

Fifth and Seventh Circuits, a prolonged Daubert hearing and out-of-town

depositions, as well as the winter holidays, Plaintiff respectfully asks this Court for

an extension up to and including January 7, 2020 to respond to Defendants’ Motion

to Dismiss.

      4.      Counsel for Plaintiff has spoken with counsel for the City and BPD,

and Defendants do not oppose this request.

      WHEREFORE, Plaintiff, Gary Washington, respectfully requests that this

Court grant him up until and including January 7, 2020 in which to respond to

Defendants’ Motion to Dismiss.


                                               Respectfully submitted,

                                               GARY WASHINGTON

                                         By: /s/ Gayle Horn
                                             One of Plaintiff’s Attorneys

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                          CERTIFICATE OF SERVICE

      I, Gayle Horn, an attorney, hereby certify that I filed the foregoing Motion via
the Court’s CM/ECF system on December 4, 2019, and thereby served a copy on all
counsel of record.



                                                    /s/ Gayle Horn
                                                    One of Plaintiffs’ Attorneys




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